            Case 2:15-cv-00463-RAJ Document 24 Filed 10/12/17 Page 1 of 3




 1                                                          The Honorable Richard A. Jones

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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9
     MICROSOFT CORPORATION,
10                                                  No. 2:15-cv-463-RAJ
                              Plaintiff,
11                                                  ORDER & JUDGMENT
            v.
12
     PREMIER SELLING TECHNOLOGIES;
13   PREMIER SELLING TECHNOLOGIES, INC.;
     PREMIER SELLING TECHNOLOGIES
14   CORPORATION; BILLING SYSTEMS
     CORP.; MARK E. VALENTINE; CODY JERY
15   ALLAN ALTIZER a/k/a CODY ALLAN;
     ROBERT ROMERO; and DOES 1-20,
16
                              Defendants.
17

18
19                                SUMMARY OF JUDGMENT
       1.    Judgment Creditor:                 Microsoft Corporation
20
                                                Mark E. Valentine
       2.    Judgment Debtors:
21

22
       3.    Attorneys for Judgment Creditor:   Bonnie MacNaughton
23                                              James Harlan Corning
                                                Davis Wright Tremaine LLP
24                                              Suite 2200
                                                1201 Third Avenue
25                                              Seattle, WA 98101-3045
26

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                                                                        Davis Wright Tremaine LLP
     STIPULATED JUDGMENT                                                       L AW O FFICE S
                                                                                   Suite 2200
     (No. 2:15-cv-463-RAJ) – 1                                               1201 Third Avenue
                                                                           Seattle, WA 98101-3045
                                                                    206.622.3150 main · 206.757.7700 fax
             Case 2:15-cv-00463-RAJ Document 24 Filed 10/12/17 Page 2 of 3




 1     4.    Attorneys for Judgment Debtors:
                                                         Rob J. Crichton
                                                         David J. Ko
 2
                                                         Eric R. Laliberte
 3                                                       Keller Rohrback
                                                         1201 Third Avenue, Suite 3200
 4                                                       Seattle, WA 98101-3045
                                                         Telephone: (206) 623-2900
 5

 6     5     Amount of Principal Judgment                US $150,000.00
 7     6.    Amount of Prejudgment Interest
 8           a. From July 15, 2016 through               US $10,500.00
             September 15, 2017
 9
             b. After September 15, 2017 (at
                                                         US $641.16
10           $24.66 per day)

11     7.    Awarded attorneys’ fees, expenses and US $6,293.90
             costs to date:
12
       8.    TOTAL JUDGMENT:                             US $167,435.06
13
       9.    Postjudgment interest on TOTAL              To accrue pursuant to 28 U.S.C. § 1961 until
14
             JUDGMENT amount                             judgment satisfied.
15
                                            JUDGMENT & ORDER
16
            THIS MATTER originally came before the Court on Plaintiff’s Motion to Vacate Order
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     of Dismissal and to Enter Stipulated Judgment. Pursuant to the settlement agreement entered
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     into of this case, Defendant Mark E. Valentine agreed to the entry of this judgment upon a
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     default in his settlement payments. The Court finds that Defendant Mark E. Valentine has
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     defaulted in his settlement payments and, pursuant to the settlement agreement, the Court
21
     therefore makes a final determination of the rights of the parties in this action.
22
            ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED, and DECREED that:
23
            1.      Microsoft’s Motion to Vacate Order of Dismissal and to Enter Stipulated
24
     Judgment (Dkt. 19) is granted.
25
            2.      The Court’s Order of Dismissal (Dkt. 18) is hereby vacated.
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                                                                                  Davis Wright Tremaine LLP
     STIPULATED JUDGMENT                                                                   L AW O FFICE S
                                                                                               Suite 2200
     (No. 2:15-cv-463-RAJ) – 2                                                           1201 Third Avenue
                                                                                       Seattle, WA 98101-3045
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             Case 2:15-cv-00463-RAJ Document 24 Filed 10/12/17 Page 3 of 3




 1          3.      Plaintiff Microsoft Corporation is granted judgment against Defendant Mark E.

 2   Valentine in the amount of US $167,435.06, This judgment shall bear interest at that the

 3   statutory rate specified in 28 U.S.C. § 1961 until such time as the judgment is satisfied.

 4          4.      The Court also finds and concludes that, under the terms of the parties’

 5   settlement agreement, Microsoft is further entitled to reimbursement for its attorneys’ fees in

 6   collecting upon this judgment. Microsoft shall therefore be entitled to apply to this Court, or to

 7   any other Court of competent jurisdiction, for a supplemental judgment reflecting future

 8   attorneys’ fees incurred in collecting upon this judgment. The Court retains continuing

 9   jurisdiction for purposes of entering such supplemental judgment.

10

11          DATED the 12th day of October, 2017.

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                                                           A
                                                           The Honorable Richard A. Jones
15
                                                           United States District Judge
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                                                                                Davis Wright Tremaine LLP
     STIPULATED JUDGMENT                                                                 L AW O FFICE S
                                                                                             Suite 2200
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